            Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 1 of 24



                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

LARRY G. PHILPOT,                                           §
                                                            §
                  Plaintiff,                                §
                                                            §
v.                                                          §                      1:18-CV-339-RP
                                                            §
WOS, INC.,                                                  §
                                                            §
                  Defendant.                                §

                                                      ORDER

         Before the Court are cross motions for summary judgment filed by Plaintiff Larry G. Philpot

(“Philpot”), (Dkt. 26), and Defendant WOS, Inc. (“WOS”), (Dkt. 25). Having considered the

parties’ motions and the responsive briefing, the record, and the relevant law, the Court finds that

each motion should be granted in part and denied in part.

                                               I. BACKGROUND

         Philpot is a freelance photographer who mostly photographs musicians at live performances.

(Compl., Dkt. 1, at 4). At issue in this case are two of his photographs: one of Lukas Nelson and

another of Kenny Chesney. (Philpot Decl., Dkt. 26-1, at 3–4).1 WOS is a media company that

operates a website called Wide Open Country (“WOC”), which publishes news, entertainment, and

lifestyle content related to country music. (WOS Mot. Summ. J., Dkt. 25, at 4). In 2015, WOS

created and published two articles on WOC featuring Philpot’s Nelson and Chesney photos. (Id. at

5–7). Philpot alleges that WOS published the photos without proper attribution and therefore

violated the Creative Commons License under which he makes the photos available. (Compl., Dkt.

1, at 6–10). He also alleges that WOS scrubbed the metadata from the photos before publishing

them. (Id. at 13–14). He now sues WOS for copyright infringement in violation of 17 U.S.C. § 501

1Record citations for the summary judgment exhibits filed at Dkts. 25-1 and 26-1 are to the page of the PDF file that
combines all of the parties’ exhibits.


                                                           1
          Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 2 of 24



and for removing copyright management information in violation of 17 U.S.C. § 1202(b). (Id. at 11–

14). WOS seeks summary judgment on each of Philpot’s claims, (Dkt. 25), and Philpot seeks partial

summary judgment on each of WOS’s defenses, (Dkt. 26).

                                       II. LEGAL STANDARD

        Summary judgment is appropriate when there is no genuine dispute as to any material fact

and that the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex

Corp. v. Catrett, 477 U.S. 317, 323–25 (1986). A dispute regarding a material fact is “genuine” if the

evidence is such that a reasonable jury could return a verdict in favor of the nonmoving party.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “A fact is material if its resolution in favor of

one party might affect the outcome of the lawsuit under governing law.” Sossamon v. Lone Star State of

Tex., 560 F.3d 316, 326 (5th Cir. 2009) (quotations and footnote omitted). The Court must view the

evidence in the light most favorable to the nonmovant and draw all reasonable inferences in the

nonmovant’s favor, Rosado v. Deters, 5 F.3d 119, 122–23 (5th Cir. 1993), and cannot make credibility

determinations or weigh the evidence, Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150

(2000). That said, when one party’s version of the facts “is blatantly contradicted by the record, so

that no reasonable jury could believe it, a court should not adopt that version of the facts for

purposes of ruling on a motion for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007).

        Once the moving party has made an initial showing that there is no evidence to support the

nonmoving party’s case, the party opposing the motion must come forward with competent

summary judgment evidence of the existence of a genuine fact issue. Matsushita Elec. Indus. Co. v.

Zenith Radio, 475 U.S. 574, 587 (1986). Unsubstantiated assertions, improbable inferences, and

unsupported speculation are not competent summary judgment evidence, and thus are insufficient

to defeat a motion for summary judgment. Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343

(5th Cir. 2007). Furthermore, the nonmovant is required to identify specific evidence in the record



                                                     2
          Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 3 of 24



and to articulate the precise manner in which that evidence supports his claim. Adams v. Travelers

Indem. Co. of Conn., 465 F.3d 156, 164 (5th Cir. 2006). Rule 56 does not impose a duty on the court to

“sift through the record in search of evidence” to support the nonmovant’s opposition to the

motion for summary judgment. Id. After the nonmovant has been given the opportunity to raise a

genuine factual issue, if no reasonable juror could find for the nonmovant, summary judgment will

be granted. Miss. River Basin Alliance v. Westphal, 230 F.3d 170, 175 (5th Cir. 2000). Cross-motions for

summary judgment “must be considered separately, as each movant bears the burden of establishing

that no genuine issue of material fact exists and that it is entitled to judgment as a matter of law.”

Shaw Constructors v. ICF Kaiser Eng’rs, Inc., 395 F.3d 533, 538–39 (5th Cir. 2004).

                                           III. DISCUSSION

                                 A. Summary Judgment Evidence

        Philpot has been a professional photographer, in his view, since 2008. (Philpot Dep., Dkt.

25-1, at 179). He has no training in photography and has never been employed full-time as a

photographer; he works as a freelancer. (Id.; id. at 200; Compl., Dkt. 1, at 1, 4). He is formally

affiliated with “OnStage Magazine,” a company he created to gain access to bigger events, but which

does not actually produce magazines or generate advertising revenue. (Philpot Dep., Dkt. 25-1, at

183–84). He has never been hired to photograph a concert or other event. (Id. at 182). He is

compensated for his work mostly in concert tickets, food, and drinks. (Id. at 180, 190–91). Pressed

to identify monetary compensation for his work, Philpot testified that once he did a shoot for a

hidden-camera show and that he once earned $0.88 for an image of Prince that he took at a concert

he paid $2,000 to attend. (Id. at 189–90). He sells prints of his photos but has made “not very much”

money—possibly less than $100 total—doing so. (Id. at 194). He loses money on his photography

work almost every year. (Id. at 213–14).




                                                    3
           Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 4 of 24



        Philpot took the Nelson photo in 2009 and the Chesney photo in 2013. (Philpot Decl., Dkt.

26-1, at 3–4). He registered each one with the U.S. Copyright Office the year they were taken,

(Certificates of Registration, Dkt. 26-1, at 11, 16), and made both publicly available for free by

uploading them to Wikimedia Commons under a Creative Commons License (“CCL”). (Philpot

Decl., Dkt. 26-1, at 5–6).2 That license conditions use of the images on attribution—provided “in

any reasonable manner”—that includes the author’s name, the title of the work, and “to the extent

reasonably practicable,” the work’s “Uniform Resource Identifier” (“URI”). (CCL, Dkt. 26-1, at 21–

22; see also Wikimedia License Summaries, Dkt. 26-1, at 28, 33). On the Wikimedia page for both

photos, Philpot states that attribution should be made to “Larry Philpot of

www.soundstagephotography.com” or “Larry Philpot, www.soundstagephotography.com.”

(Wikimedia License Summaries, Dkt. 26-1, at 27, 33). The Chesney photo’s Wikimedia page also

names the author as “Nightshooter”—Philpot’s username—next to his attribution line. (Id. at 27).

The CCL for the Chesney and Nelson photos terminates automatically if the licensee breaches any

term of the license. (CCL, Dkt. 26-1, at 22).

        WOS launched WOC in 2015. (O’Dwyer Aff., Dkt. 25-1, at 59). Since then, it has been run

by a full-time staff of four and relies mostly on freelancers to create content. (Id.). WOS is no

stranger to CCLs—it often uses images licensed under CCLs and has a guide instructing freelance

writers to “familiarize yourself with the different types of CC licenses.” (O’Dwyer Dep., Dkt. 25-1,

at 106–07; O’Dwyer Aff., Dkt. 25-1, at 59). In that guide, WOS tells freelancers that CCL-licensed

images should have a source page with information about the license and that they must attribute

the image as instructed by the author. (O’Dwyer Dep., Dkt. 25-1, at 107).




2The two photos currently appear as the main images of the performers on their Wikipedia.com pages. See
WIKIPEDIA.COM,http://en.wikipedia.org/wiki/Kenny_Chesney (last visited Apr. 15, 2019); id.,
http://en.wikipedia.org/wiki/Lukas_Nelson_%26_Promise_of_the_Real (last visited Apr. 15, 2019).


                                                         4
            Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 5 of 24



         In 2015, WOS created and published an article titled “Father of Two Beaten to Death After

Kenny Chesney Concert.” (Chesney Article, Dkt. 25-1, at 37). Underneath the headline is a photo of

the man and his children alongside Philpot’s Chesney photo. (Id.). Under the photos is an attribution

line that reads: “Twitter/AlexRozierK5, Wikimedia Commons/Nightshooter.” (Id.). That same year,

WOS created and published an article titled “See Willie and Merle’s Sons Cover of ‘Seven Spanish

Angels.’” (Nelson Article, Dkt. 25-1, at 42). Underneath the headline is Philpot’s Nelson photo

alongside a photo of Ben Haggard. (Id.). Underneath the photos is an attribution line that reads:

“Wikimedia Commons, Facebook/Ben Haggard.” (Id.).

         Several years ago, Philpot began using software to search the Internet for infringing uses of

his copyrights because he “wasn’t making any money at all” on his photography. (Philpot Dep., Dkt.

26-1, at 197–99). Since then, Philpot guesses that he has probably filed over 50 copyright

infringement lawsuits. (Id. at 207).3 On January 9, 2018, counsel for Philpot sent WOS a cease-and-

desist letter claiming that they had “just learned” about WOS’s infringing use of the Nelson photo

and asking them to stop displaying it. (Bowen Letter, Dkt. 25-1, at 137). WOS was not notified that

it was infringing Philpot’s rights to the Chesney image until being served with the complaint.

(O’Dwyer Aff., Dkt. 25-1, at 60). After receiving the letter, WOS changed the attribution line for the

Nelson photo from “Wikimedia Commons” to “Nightshooter,” Philpot’s Wikimedia username.

(O’Dwyer Dep., Dkt. 25-1, at 76). Philpot then filed this action, in which he seeks $150,000 in

damages for each photo. (Compl., Dkt. 1, at 12).




3A brief search returns a number of Philpot’s other cases, some of which involve the works at issue in this case. See
Philpot v. New Orleans Tourism Mktg. Corp., CV 18-9087, 2019 WL 142295, at *5 (E.D. La. Jan. 9, 2019); Philpot v. Media
Research Ctr. Inc., 279 F. Supp. 3d 708 (E.D. Va. 2018); Philpot v. L.M. Commc’ns II of S.C., Inc., 343 F. Supp. 3d 694, 705
(E.D. Ky. 2018); Philpot v. Dot Com Plus, LLC, 1:14-CV-01980-TWP, 2015 WL 4742099, at *5 (S.D. Ind. Aug. 11, 2015);
Philpot v. Kos Media LLC, 16CV01523ATBCM, 2017 WL 2271540, at *1 (S.D.N.Y. May 3, 2017); Philpot v. Music Times
LLC, 16CV1277 (DLC), 2017 WL 1906902, at *2 (S.D.N.Y. May 9, 2017); Philpot v. Celebrity Cafe.com, LLC, 1:14-CV-
01982-TWP, 2015 WL 5032144, at *6 (S.D. Ind. Aug. 25, 2015); Philpot v. Toledo Radio, LLC, 3:15 CV 1401, 2015 WL
12767968, at *2 (N.D. Ohio Oct. 14, 2015).


                                                             5
          Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 6 of 24



                             B. WOS’s Motion for Summary Judgment

        WOS seeks summary judgment on all of Philpot’s claims: his set of copyright-infringement

claims and his set of information-removal claims. (WOS Mot. Summ. J., Dkt. 25, at 8–18).

Regarding the former, WOS does not dispute that its use of Philpot’s photos infringed his

copyrights in those images; it argues only that its use of those photos constitutes “fair use” under 17

U.S.C. § 107. (Id. at 13–18). Regarding the latter, WOS argues that there is not material issue of fact

as to the intent elements of Philpot’s claims. (Id. at 8–13). The Court will consider each set of claims

separately.

                                  1. Copyright Infringement—Fair Use

        Section 106 of the Copyright Act confers a bundle of exclusive rights to the owner of a

copyright, including the right “to publish, copy, and distribute the author’s work.” Harper & Row

Publishers, Inc. v. Nation Enters., 471 U.S. 539, 547 (1985). But these rights are subject to “certain

statutory exceptions,” including the “privilege of other authors to make ‘fair use’ of an earlier

author’s work.” Id. (citing 17 U.S.C. § 107). Section 107 was intended to codify the pre-existing

judicial doctrine of fair use, which was “traditionally defined as ‘a privilege in others than the owner

of the copyright to use the copyrighted material in a reasonable manner without his consent.’” Id. at

549 (citing H. Ball, Law of Copyright and Literary Property 260 (1944)). Fair use is an affirmative

defense for which WOS has the burden to establish that its otherwise infringing use of Philpot’s

photos is excused. Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 590 (1994).

        Section 107 of the Copyright Act permits the unauthorized use or reproduction of

copyrighted work if it is “for purposes such as criticism, comment, news reporting, teaching . . .

scholarship, or research.” 17 U.S.C. § 107. Fair use is a mixed question of law and fact and requires a

case-by-case determination on whether a particular use of a copyrighted work is fair. Campbell, 510

U.S. at 577; Harper & Row, 471 U.S. at 560. Making that determination requires consideration of



                                                     6
          Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 7 of 24



four factors: (1) the purpose and character of the use; (2) the nature of the copyrighted work; (3) the

amount and substantiality of the portion used in relation to the copyrighted work as a whole; and (4)

the effect on the potential market for or value of the copyrighted work. 17 U.S.C. § 107. These

factors are non-exclusive, Harper & Row, 471 U.S. at 560, and are to be “weighed together, in light of

the purposes of copyright,” Campbell, 510 U.S. at 578. Accordingly, some courts have described “the

ultimate test of fair use” as “whether the copyright law’s goal of promoting the Progress of Science

and useful Arts would be better served by allowing the use than by preventing it.” Bill Graham

Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 608 (2d Cir. 2006) (citation and internal quotation

marks omitted).

                            a. Factor One: The Purpose and Character of the Use

        Under the first factor, courts consider the culpability of a defendant’s conduct in acquiring

or using a work, the extent to which such use is transformative, and whether such use is for

commercial or noncommercial purposes. See Harper & Row, 471 U.S. at 562 (“Relevant to the

character of the use is the propriety of the defendant’s conduct.”) (cleaned up); id. (“The fact that a

publication was commercial as opposed to nonprofit is a separate factor that tends to weigh against

a finding of fair use.”); Campbell, 510 U.S. at 578–79 (“[T]he more transformative the new work, the

less will be the significance of other factors, like commercialism, that may weigh against a finding of

fair use.”). Neither party argues that WOS’s culpability is relevant here; each instead focuses on

whether WOS used Philpot’s photos for commercial purposes and whether its use is transformative.

(WOS Mot. Summ. J., Dkt. 25, at 14–15; Resp. WOS Mot. Summ. J., Dkt. 29, at 6–10).

        There is no genuine dispute that WOS’s use of Philpot’s photos is commercial. WOS is a

for-profit business that earns advertising revenue based on pageviews. (O’Dwyer Dep., Dkt. 26-1, at

72–73, 82). WOS used Philpot’s photos to drive traffic to its articles about Chesney and Nelson; that

traffic earned the company revenue. (WOS Interrog. Resp., Dkt. 26-1, at 60–61 (admitting that



                                                    7
            Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 8 of 24



WOS earned $6.41 from the Chesney article and $119.83 from the Nelson article)). Although WOS

downplays its uses as “nominally commercial” because the Chesney article brought in only $6.41, the

question is whether WOS “st[ood] to profit from exploitation of the copyrighted material without

paying the customary price”—here, attribution—and not whether WOS was especially successful at

profiting from its exploitation.4 This subfactor tends to weigh against a finding of fair use but is far

from dispositive. Campbell, 510 U.S. at 584–85.

         As for whether WOS’s use is transformative, the question is “whether the new work merely

supersedes the objects of the original creation, . . . or instead adds something new, with a further

purpose or different character, altering the first with new expression, meaning, or message.” Id. at

579 (cleaned up). The importance of this subfactor is determined on a sliding scale: “the more

transformative the new work, the less will be the significance of other factors, like commercialism,

that may weigh against a finding of fair use.” Id.

         WOS argues that its use is transformative because Philpot’s purpose for his photos “is to

depict artists in concert,” while WOS used the photos for “news commentary about the murder of

the father of two” (the Chesney photo) and for “commentary unrelated to the image’s subject” (the

Nelson photo). (WOS Mot. Summ. J., Dkt. 25, at 14, 17). Neither article concerned the performance

depicted in Philpot’s photos, and WOS argues that it could have interchangeably used any other

photo of Chesney or Nelson for the articles. (Id.). Philpot responds that there is “no transformation

of any kind” because WOS and Philpot both used the photos for the same purpose: to identify

Chesney and Nelson. (Resp. WOS Mot. Summ. J., Dkt. 29, at 8). This disagreement about how to

characterize Philpot’s purpose and WOS’s is a fact issue for a jury. For purposes of deciding WOS’s

motion, the Court finds that a reasonable jury could conclude that both parties used the Chesney

and Nelson photos for the same purpose. When, as here, a work is reproduced exactly for the same

4 Tellingly, WOS points to no authority for the proposition that a commercially unsuccessful use weighs less in favor of
fair use than a commercially successful use. (See WOS Mot. Summ. J., Dkt. 25, at 15).


                                                            8
            Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 9 of 24



purpose, the use is not transformative. See Balsley v. LFP, Inc., 691 F.3d 747, 759 (6th Cir. 2012)

(quoting Kelly v. Arriba Soft Corp., 336 F.3d 811, 818–19 (9th Cir. 2003)) (“Where ‘an original work is

merely retransmitted in a different medium’ or where the ‘resulting use of the copyrighted work . . .

[is] the same as the original use,’ the new work is not ‘transformative.’”). Viewing the facts in the

light most favorable to Philpot, this factor weighs in his favor.

                                 b. Factor Two: The Nature of the Copyrighted Works

         In considering nature of the copyrighted work, courts look at “the extent to which [the

work] is a creative work enjoying broader copyright protection as opposed to a factual work

requiring broader dissemination.” Nunez v. Caribbean Int’l News Corp., 235 F.3d 18, 23 (1st Cir. 2000)

(citing Harper & Row, 471 U.S. at 563–64).5 A use is less likely to be deemed fair when the

copyrighted work is a creative product. Stewart v. Abend, 495 U.S. 207, 237 (1990); see also Harper &

Row, 471 U.S. at 563 (“The law generally recognizes a greater need to disseminate factual works than

works of fiction or fantasy.”). Although photographs have “varying degrees of creativity,” Balsley,

691 F.3d at 760, a reasonable jury could agree with Philpot that the Chesney and Nelson photos

reflect Philpot’s creative judgments about things like angle, framing, and timing. (Resp. WOS Mot.

Summ. J., Dkt. 29, at 10–11). When creative judgments are apparent in a photograph—even if the

purpose of the image is to document or convey factual information—courts tend to hold that the

work is creative in nature. Monge v. Maya Magazines, Inc., 688 F.3d 1164, 1177 (9th Cir. 2012); Kelly,

336 F.3d at 820. Viewing the facts in the light most favorable to Philpot, this factor weighs in his

favor.




5 Courts also consider whether a work was unpublished at the time of use, “in which case the right of first publication is
implicated.” Nunez, 235 F.3d at 23 (citing Harper & Row, 471 U.S. at 564). In such a case, “[t]he author’s right to control
the first public appearance of his expression weighs against such use of the work before its release.” Harper & Row, 471
U.S. at 564. Because there is no question that Philpot’s photos were published before WOS’s use, the right of first
publication is not implicated here.


                                                             9
          Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 10 of 24



                     c. Factor Three: The Amount and Substantiality of the Portions Used

        In considering the amount and substantiality of the portions used, courts “examine both the

quantitative and qualitative aspects of the portion of the copyrighted material taken.” Monge, 688

F.3d at 1178 (citing Campbell, 510 U.S. at 586). “While wholesale copying does not preclude fair use

per se, copying an entire work militates against a finding of fair use.” Kelly, 336 F.3d at 820. That

said, “the extent of permissible copying varies with the purpose and character of the use.” Bill

Graham Archives, 448 F.3d at 613 (citing Campbell, 510 U.S. at 586–87). So, for example, courts have

concluded that wholesale copying does not necessarily weigh against finding fair use when doing so

is necessary to make a fair use of the image. See Kelly, 336 F.3d at 821 (finding the wholesale

replication of images used for a search engine database necessary for the purpose of recognition);

Nunez, 235 F.3d at 24 (finding that, where a controversial photo was used in a story about the photo,

to copy any less than the entire photo would have made the photo useless to the story).

        WOS suggests in conclusory fashion that, like the thumbnail-image cases, its wholesale

copying is justified as necessary to WOS’s fair use. (WOS Mot. Summ. J., Dkt. 25, at 15–16 (citing

Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1167 (9th Cir. 2007))). But WOS offers no reason

why it needed to copy the entire images to convey to the reader that the story was about Chesney or

Nelson. Unlike Nunez, WOS’s articles were not about the photos themselves. 235 F.3d at 24. And

unlike the thumbnail cases, it is not obvious why the entire image was necessary to accomplish the

copier’s aim. See Perfect 10, 508 F.3d at 1167. A reasonable jury could agree with Philpot that the

wholesale copying of his photos is not necessary to make fair use of the images. (Resp. WOS Mot.

Summ. J., Dkt. 29, at 11). Accordingly, this factor “militates against a finding of fair use.” Kelly, 336

F.3d at 820; Balsley, 691 F.3d at 760.




                                                     10
         Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 11 of 24



                       d. Factor Four: The Effect on the Works’ Potential Market or Value

        Finally, courts consider “the effect of the use upon the potential market for or value of the

copyrighted work.” Campbell, 510 U.S. at 590 (quoting 17 U.S.C. § 107(4)). “This last factor is

undoubtedly the single most important element of fair use.” Harper & Row, 471 U.S. at 566. Analysis

of this factor “requires courts to consider not only the extent of market harm caused by the

particular actions of the alleged infringer,” but also “whether unrestricted and widespread conduct

of the sort engaged in by the defendant would result in a substantially adverse impact on the

potential market for the original.” Campbell, 510 U.S. at 590 (cleaned up). Put differently, the inquiry

“must take account not only of harm to the original but also of harm to the market for derivative

works.” Harper & Row, 471 U.S. at 567.

        This factor presumptively weighs in the plaintiff’s favor if the use is commercial, because

“every commercial use of copyrighted material is presumptively an unfair exploitation of the

monopoly privilege that belongs to the owner of the copyright.” Balsley, 691 F.3d at 760 (quoting

Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 451 (1984)). However, when the “second

use is transformative, market substitution is at least less certain, and market harm may not be so

readily inferred.” Campbell, 510 U.S. at 591. Courts have described this factor as “concerned with

secondary uses that, by offering a substitute for the original, usurp a market that properly belongs to

the copyright holder.” Nunez, 235 F.3d at 24 (quoting Infinity Broad. Corp. v. Kirkwood, 150 F.3d 104,

110 (2d Cir. 1998)).

        Because WOS’s use of Philpot’s photos is commercial, this factor presumptively weighs in

Philpot’s favor. Balsley, 691 F.3d at 760. And because, viewing the evidence in Philpot’s favor,

WOS’s use is not transformative, the Court need not be skeptical of market substitution for the

reasons described in Campbell. 510 U.S. at 591. Thus, at first glance, this factor would appear to

weigh in Philpot’s favor.



                                                      11
           Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 12 of 24



         But a presumption is just that, and WOS has introduced significant, unrebutted evidence

that there is no actual or potential market for Philpot’s photos. Philpot makes these two photos

available for free and makes little to no money licensing or selling prints of any of his photos, much

less these two. (Philpot Dep., Dkt. 25-1, at 190–91; 206–07). He has never been hired to photograph

a concert or other event. (Id. at 182). He is compensated for his work mostly in concert tickets, food,

and drinks. (Id. at 180, 190–91). He loses money on his photography work almost every year. (Id. at

213–14). In fact, the principal way that Philpot appears to make money from his photography is

settlement agreements in copyright lawsuits. (Id. at 190). On this record, even viewed in the light

most favorable to Philpot, it is difficult to see how WOS’s use has usurped the market for these two

photos. Nunez, 235 F.3d at 24.

         Philpot responds that his photographs are not offered for free; they are offered for the price

of attribution, which has economic value as advertising for his work. (Resp. WOS Mot. Summ. J.,

Dkt. 298, at 15). This position is unpersuasive here. For one thing, Philpot admits that he can only

recall a single contact because of attribution to one of his works, and he made no money from that

contact because the image requested was available for free on Wikipedia. (Philpot Dep., Dkt. 25-1, at

205–06). Asked if he has “any reason to believe” that he would be contacted by anyone if his work

were properly attributed, Philpot responded, “No.” (Id. at 206). Moreover, this factor looks at the

market for the original work and derivates from that work, not at the market for the plaintiff’s work

in general. Campbell, 510 U.S. at 590. Although the Court accepts that attribution might lead

someone to purchase one of Philpot’s works, he fails to explain how any amount of advertisement

might lead to being paid for two works that he makes available for free. 6 So, while it is true that this


6 At least one court has examined—in the context of open-source software licensing—the economic reasons an author
might make a work available for free under a CCL. Jacobsen v. Katzer, 535 F.3d 1373, 1379 (Fed. Cir. 2008). Such reasons
include, for example, that program creators might “generate market share for their programs by providing certain
components free of charge.” Id. Or, as another example, other programmers might improve the product. Id. Philpot
does not explain why these possible economic motivations for public licenses in the software context might supply
evidence that his public licenses create potential market value for his photographic works.


                                                           12
          Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 13 of 24



factor contemplates not only actual but also potential market damage, id., there is no evidence that

WOS’s use will have any effect on the market for the Chesney or Nelson photos. Even viewing the

evidence in the light most favorable to Philpot, WOS has overcome the presumption that this factor

weighs against a finding of fair use. This factor—the most important of the four—weighs in WOS’s

favor.

                                          e. Weighing the Factors Together

         When the evidence is viewed in Philpot’s favor, three of the four factors tilt his direction.

Meanwhile, the most important factor tilts against Philpot. Perhaps the final factor’s weight is so

great that WOS’s use is fair, but that is not obviously the case—not so obvious, at any rate, that the

Court can conclude that no reasonable jury could find to the contrary. WOS is not entitled to

summary judgment on its fair use defense.

                            2. Removal of Copyright Management Information

         In his second claim for relief, Philpot alleges that WOS removed copyright management

information (“CMI”) in violation of 17 U.S.C. § 1202(b) when it scrubbed the metadata7 from the

photos before publishing them. (Compl., Dkt. 1, at 13–14). Section 1202(b) provides that no person

shall intentionally remove CMI or distribute works knowing that CMI has been removed, if that

person knows that doing so will “induce, enable, facilitate, or conceal” copyright infringement. 17

U.S.C. § 1202(b). WOS seeks summary judgment on Philpot’s CMI-removal claim, arguing that

Philpot cannot establish either of the claim’s two intent elements. (WOS Mot. Summ. J., Dkt. 25, at

8–13).

         Proving a violation of Section 1202 requires proof of intent or actual (not constructive)

knowledge: intentional removal or distribution with the knowledge of removal. 17 U.S.C. § 1202(b);


7The parties do not dispute that the photos’ metadata, which identify Philpot as the author and copyright holder,
constitutes copyright management information under the statute. (See Wikimedia Commons Pages, Dkt. 26-1, at 145,
149); see also 17 U.S.C. § 1202(c)(2), (3).


                                                         13
           Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 14 of 24



Gordon v. Nextel Commc’ns & Mullen Advert., Inc., 345 F.3d 922, 926 (6th Cir. 2003); Mango v. BuzzFeed,

Inc., 356 F. Supp. 3d 368, 377 (S.D.N.Y. 2019). WOS’s CEO, Denis O’Dwyer (“O’Dwyer”), testifies

that WOS did not know that the photos contained metadata when it pulled the files off Wikimedia

or when it posted the articles on WOC. (O’Dwyer Aff., Dkt. 25-1, at 60). He says that WOS does

not think about what metadata might contain because it does not consider metadata to be useful.

(Id.). WOS argues that it has met its burden to show the absence of a genuine fact issue concerning

its intent or actual knowledge, shifting the summary judgment burden to Philpot to identify evidence

in the record that would create a genuine issue of fact. (WOS Mot. Summ. J., Dkt. 25, at 8–11). The

Court agrees, see Matsushita, 475 U.S. at 587, and finds that Philpot has not met his burden.

         Philpot argues that because the photos’ Wikimedia pages list the images’ metadata, WOS

must have known that the metadata contained CMI when it downloaded the photo from Wikimedia.

(Resp. WOS Mot. Summ. J., Dkt. 29, at 3). For the Chesney photo, however, nobody from WOS

ever visited the image’s Wikimedia page; a freelance author downloaded the photo and added it to

the article. (O’Dwyer Dep., Dkt. 26-1, at 80). Philpot did not depose the freelancer, serve her with

discovery requests, or otherwise put any evidence in the record of either (a) how thoroughly she

examined the page when downloading the image or (b) what she communicated to WOS even if she

saw that the metadata contained CMI. There is therefore no evidence that the freelancer both knew

that the metadata contained CMI and told the WOS editor who scrubbed the metadata and

published the article that the metadata contained CMI. There is likewise no evidence that anyone

from WOS ever visited the Chesney photo’s Wikimedia page or otherwise examined the photo’s

metadata to see that it contained CMI before posting it to WOC.8 There is therefore nothing from


8 O’Dwyer admits that WOS removes metadata from images as a matter of regular practice, (O’Dwyer Dep., Dkt. 26-1,
at 76, 82), because it “adds weight to the page” and increases load time, (id. at 90). But there is no evidence that WOS
reviews metadata before removing it. If anything, the evidence suggests only that it does not, because the company is
simply applying what O’Dwyer believes to be an industry-wide practice. (Id.). In general, O’Dwyer also believes that
metadata is not “useful information” and that it “doesn’t add any value.” (Id.).


                                                           14
         Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 15 of 24



which a reasonable jury could conclude that WOS either intentionally removed CMI from the

Chesney photo or that it published the photo knowing that CMI had been removed.

        The Nelson photo, meanwhile, was downloaded from Wikimedia by a WOS employee:

former editor Matt Alpert. (Id. at 81). But there is no evidence that Alpert viewed the entire

Wikimedia Commons page before downloading the photo. Philpot did not depose Alpert, serve him

with discovery requests, or otherwise put any evidence in the record of how thoroughly he examined

the page when downloading the image. The only evidence in the record is the Wikimedia page itself.

(Nelson Wikimedia Page, Dkt. 26-1, at 146–49). The metadata is listed at the bottom of that page,

beneath information about the image—such as its source, author, and attribution—a summary of

the CCL, and file history. (Id.). There is no evidence that Alpert scrolled to the bottom of the page.

Indeed, what little evidence exists in the record points to the opposite conclusion: the photo is

credited to “Wikimedia Commons” rather than according to the attribution information listed in the

middle of the page. (Id. at 43). Having failed to produce any evidence about what Alpert—the only

WOS employee who actually visited the Nelson photo’s Wikimedia page—knew, Philpot cannot

rebut WOS’s evidence that it knew nothing about the images’ metadata simply by pointing to the

page itself. That page, without more, is not evidence from which a reasonable jury can infer that

Alpert knew the full page’s contents. WOS is entitled to summary judgment on Philpot’s CMI-

removal claims.

                          C. Philpot’s Motion for Summary Judgment

        In its answer, WOS asserts fifteen affirmative defenses. (Answer, Dkt. 7, at 7–9). Philpot

seeks summary judgment on each defense. (Philpot Mot. Summ. J., Dkt. 26, at 1). In its response,

WOS argues that (a) it is entitled to summary judgment on its fair-use defense and that (b) genuine




                                                  15
           Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 16 of 24



issues of material fact exist concerning its defenses of (1) license, (2) non-infringement,9 (3) unclean

hands, (4) copyright misuse, (5) invalid copyright, (6) no damages,10 (7) innocent intent, and (8)

third-party acts.11 (Resp. Philpot Mot. Summ. J., Dkt. 28, at 4–16).12 The Court will examine each

defense in turn, beginning with fair use.

                                                       1. Fair Use

         Philpot believes that not only is WOS not entitled to summary judgment on its fair-use

defense, but that he is. (Philpot Mot. Summ. J., Dkt. 26, at 6–9). Once again, the Court must

examine the Section 107 factors, this time viewing the facts in the light most favorable to WOS.

                                 a. Factor One: The Purpose and Character of the Use

         As above, there is no question that WOS’s use is commercial.13 But viewing the evidence in

the most favorable light to WOS, a reasonable jury could conclude that the parties used the works

with different purposes because it could agree that WOS used the photos in support of “news
9 Philpot argues that “non-infringement” is not an affirmative defense but rather a negative defense to the elements of
his copyright infringement claim. (Philpot Mot. Summ. J., Dkt. 26, at 10–11). WOS offers no response. (Resp. Philpot
Mot. Summ. J., Dkt. 28, at 7). The Court agrees with Philpot that WOS need not shoulder the burden to prove non-
infringement and need simply convince the ultimate factfinder the Philpot has not met his burden to prove
infringement.
10As with non-infringement, Philpot argues that “no damages” is a negative defense rather than an affirmative defense.
(Philpot Mot. Summ. J., Dkt. 26, at 17). WOS argues that there is a “clear issue of material fact” as to whether Philpot
suffered damages but does not explain how “no damages” is an affirmative defense on which it has the burden of proof.
(Resp. Philpot Mot. Summ. J., Dkt. 28, at 13). As with non-infringement, the Court agrees with Philpot that WOS need
not shoulder the burden to prove the absence of actual damages and need simply convince the ultimate factfinder the
Philpot has not met his burden to prove actual damages.
11WOS argues it should be allowed to argue at trial that Philpot cannot recover for secondary copyright infringement
because he only pleaded a claim for direct infringement. (Resp. Philpot Mot. Summ. J., Dkt. 28, at 15). WOS believes
that there is evidence that Facebook, not WOS, published the two articles on the WOC Facebook page, and that
therefore it should be permitted to argue that WOS is not liable for direct infringement. (Id.). Philpot responds that “acts
of third parties” is a negative rather than an affirmative defense. (Reply Philpot Mot. Summ. J., Dkt. 32, at 10). WOS
points to no authority for the proposition that it has the burden to prove that a third party copied the work, and the
Court can find none. As Philpot observes, WOS may argue that secondary copyright infringement, not direct
infringement, applies to this case at trial.

12For the affirmative defenses not contested by WOS, the Court finds that Philpot has met his burden to establish the
absence of a genuine issue of material fact and WOS failed to meet its responsive burden to identify such issues. (See
Reply Philpot Mot. Summ. J., Dkt. 32, at 1). To the extent that these defenses are in fact affirmative defenses, Philpot is
entitled to summary judgment as to them.
13WOS again argues that its commercial use was “de minimis” because it earned less than $200 in revenue from the two
articles. (Resp. Philpot Mot. Summ. J., Dkt. 28, at 4–5). As before, WOS cites no authority for the proposition that a
commercially unsuccessful use is more likely to be a fair use than a commercially successful use. (See id.).


                                                            16
         Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 17 of 24



commentary” while Philpot’s purpose was merely “to depict the artists in concert.” (WOS Mot.

Summ. J., Dkt. 25, at 14). Upon making such a finding, the jury could conclude that WOS’s use was

transformative, because its object did not “merely supersede[ ]” the object of Philpot’s original

images and added “something new” by way of a “further purpose” for the photos. Campbell, 510

U.S. at 579.

        That said, the Court agrees with those courts that have held that when an infringer simply

reproduces a work in a new context, the use is “at best minimally transformative.” Monge, 688 F.3d at

1176. In Monge, a magazine published a celebrity couple’s private wedding photos for an article

exposing their secret marriage. Id. at 1168–69. The court agreed that the magazine’s purpose differed

from the couple’s, id. 1176, but noted that the article accompanying the photos was not about the

photos (unlike the photos in Nunez) and that the magazine could have reported on its subject

without the photos. Id. at 1175–76. Observing that “difference in purpose is not quite the same

thing as transformation,” the court then found that the magazine “left the inherent character of the

images unchanged.” Id. at 1176. Such use—“wholesale copying sprinkled with written

commentary”—was held to be “at best minimally transformative.” Id. So too here, where even in the

best light for WOS, it fully copied Philpot’s photos to draw attention to articles that had nothing to

do with the photos themselves. A reasonable factfinder could conclude that this factor is either

neutral or tilts slightly in either direction, depending on how much weight it gives WOS’s minimally

transformative use.

                           b. Factor Two: The Nature of the Copyrighted Works

        As discussed above, photographs have “varying degrees of creativity.” Balsley, 691 F.3d at

760. Presented with photographs that are “not designed primarily to express [the photographer’s]

ideas, emotions, or feelings,” courts have found that the impact on the fair-use inquiry to be neutral.

Nunez, 235 F.3d at 23. This is a similar situation: Philpot admits that he took the photos to



                                                  17
          Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 18 of 24



“identify” Chesney and Nelson rather than to express his own viewpoint or feelings through the

images. (Philpot Decl., Dkt. 26-1, at 4). Nevertheless, courts have also held that “[p]hotographs that

are meant to be viewed by the public for informative and aesthetic purposes . . . are generally

creative in nature.” Kelly, 336 F.3d at 820. Notwithstanding Philpot’s emphasis on the creative

decisions he made crafting these two photos, (Philpot Mot. Summ. J., Dkt. 26, at 8), a reasonable

jury could find that these photos—taken with an admittedly non-artistic aim (to identify)—are so

factual as to be considered “marginally creative,” Monge, 688 F.3d at 1178. Upon making such a

finding, a reasonable jury could agree with WOS that the factor is neutral. Balsley, 691 F.3d at 760.

                      c. Factor Three: The Amount and Substantiality of the Portions Used

        Even viewed in the light most favorable to WOS, there is no evidence that it was necessary

for WOS to wholesale copy Philpot’s photos. (See Reply Philpot Mot. Summ. J., Dkt. 32, at 2).

Accordingly, this factor this factor “militates against a finding of fair use.” Id. at 820; Balsley, 691

F.3d at 760.

                      d. Factor Four: The Effect on the Works’ Potential Market or Value

        The final factor weighs in favor of finding fair use even when the evidence is viewed in the

light most favorable to Philpot. See supra at 11–13. All the more so in the opposite light: a reasonable

jury could conclude that there is no market for the Chesney and Nelson photos and that WOS’s

failure to properly attribute those photos has not damaged any potential market for those photos.

This factor weighs heavily in WOS’s favor.

                                       e. Weighing the Factors Together

        When the evidence is viewed in WOS’s favor, the most important factor tilts substantially

toward a finding of fair use and two factors are neutral. A reasonable jury could conclude that

notwithstanding its wholesale copying, WOS’s minimally transformative use was fair given that it




                                                      18
           Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 19 of 24



had no effect on the market value of two marginally creative photos. Thus, Philpot is not entitled to

summary judgment on WOS’s fair use defense.

                                                       2. License

         Even when a plaintiff can establish copyright infringement, “the existence of a license

authorizing the use of copyrighted material is an affirmative defense to an allegation of

infringement.” Baisden v. I’m Ready Prods., Inc., 693 F.3d 491, 499 (5th Cir. 2012). However, a license

only shields a user from liability if the user acts within the permitted scope of the license.

Stross v. Redfin Corp., 730 F. App’x. 198, 203 (5th Cir. 2018); Oracle USA, Inc. v. Rimini St., Inc., 879

F.3d 948, 954 (9th Cir. 2018), rev’d in part on other grounds, 139 S. Ct. 873 (2019). WOS asserts this

defense, arguing that there is a genuine issue of material fact as to whether its use of Philpot’s

photos complied with the CCL covering those photos. (Answer, Dkt. 7, at 8; Resp. Philpot Mot.

Summ. J., Dkt. 28, at 7). There is no dispute that the photos are covered by licenses, only whether

WOS’s use fell within the permitted scope of the licenses.14

         Philpot argues that WOS acted outside the scope of the photos’ licenses—a standard version

of one type of CCL—when it failed to properly attribute them. (Philpot Mot. Summ. J., Dkt. 26, at

9–10). According to Philpot, the CCL requires that a user attribute the works using (1) “the name of

the Original Author (or pseudonym, if applicable)” and (2) “to the extent reasonably practical, the

URI” specified by the author. (Id. at 10). On the Wikimedia page for both photos, Philpot states that

attribution should be made to “Larry Philpot of www.soundstagephotography.com” or “Larry

Philpot, www.soundstagephotography.com.” (Wikimedia License Summaries, Dkt. 26-1, at 27, 33).




14Where, as here, the dispute concerns not the existence of the license but whether the user acted within the scope of
the license, the Second Circuit places the burden on the copyright owner—to prove that the defendant’s use was
unauthorized. Spinelli v. Nat’l Football League, 903 F.3d 185, 197 (2d Cir. 2018). Although the Fifth Circuit has not
explicitly adopted or rejected that approach, neither party has supplied a reason to depart from the expectation that a
defendant should shoulder the burden of proving that its use was permitted, since license is an affirmative defense.
Baisden, 693 F.3d at 499.


                                                           19
           Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 20 of 24



WOS included neither Philpot’s name nor his website in its attribution line for either photo.

(Chesney Article, Dkt. 25-1, at 37; Nelson Article, Dkt. 25-1, at 42).

        Nonetheless, WOS believes that there is a fact issue because the CCL permits attribution “in

any reasonable manner,” and WOS “genuinely belie[ves]” that it originally hyperlinked the

attribution text to the images’ Wikimedia pages, which properly attributed the photos, because it is

WOS’s policy to hyperlink attribution lines. (Resp. Philpot Mot. Summ. J., Dkt. 28, at 7 (citing

O’Dwyer Dep., Dkt. 25-1, at 75, 114–20, 129)). And while the CCL does require the attributive

elements Philpot identifies—author name and URI—it also provides that “[t]he credit required . . .

may be implemented in any reasonable manner.” (CCL, Dkt. 26-1, at 21–22). On its website,

Creative Commons—which created the standard license that Philpot used to license his works—tells

users that “CC licenses have a flexible attribution requirement, so there is not necessarily one correct

way to provide attribution.” (CC FAQ Page, Dkt. 25-1, at 169). Among the proper methods of

attribution is “providing a link to a place where the attribution information may be found.” (Id.).

        WOS has met its burden to create a genuine issue of material fact as to whether it acted

within the scope of the CCL covering Philpot’s photos. A reasonable jury could infer from

O’Dwyer’s testimony that the text was hyperlinked and from WOS’s policy to hyperlink attribution

text that the articles contained a hyperlink to the images’ Wikimedia pages. Moreover, a reasonable

jury could find that hyperlinking to Philpot’s attribution information is a “reasonable manner” to

provide credit under the CCL. Philpot is not entitled to summary judgment as to WOS’s license

defense.

                               3. Unclean Hands and Copyright Misuse

        Copyright misuse is an affirmative defense that “bars a culpable plaintiff from prevailing on

an action for the infringement of the misused copyright.” DSC Commc’ns Corp. v. DGI Techs., Inc., 81

F.3d 597, 601 (5th Cir. 1996). A type of unclean-hands defense, copyright misuse “forbids the use of



                                                  20
         Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 21 of 24



the [copyright] to secure an exclusive right or limited monopoly not granted by the [Copyright]

Office and which it is contrary to public policy to grant.” Alcatel USA, Inc. v. DGI Techs., Inc., 166

F.3d 772, 792 (5th Cir. 1999) (quoting Lasercomb Am., Inc. v. Reynolds, 911 F.2d 970, 977 (4th Cir.

1990)). A plaintiff misuses a copyright when it attempts to use the copyright to obtain “monopoly

power” over “property not covered by the . . . copyright.” Id. at 793 (quoting Lasercomb, 911 F.2d at

976).

        WOS’s theory of copyright misuse is that Philpot is maintaining “what is effectively a

coercive licensing practice.” (Resp. Philpot Mot. Summ. J., Dkt. 28, at 8). According to WOS,

Philpot is making monetarily worthless images available for free on Wikimedia Commons, combing

the internet for attribution errors and then suing users to obtain settlement agreements as his only

real source of business revenue. (Id. at 8–10). As evidence, WOS observes that Philpot is an

untrained freelancer who admits that he has never been hired to photograph a concert, is rarely paid

in money for his photography, sells very few prints of his work, and loses money on his

photography work almost every year. (Philpot Dep., Dkt. 25-1, at 182–94, 213–14). He puts his

work online for free because he allegedly values attribution. However, he also admits both (a) that he

has no reason to believe that he would be contacted by anyone if his work were properly attributed,

(id. at 206), and (b) that he began searching for CCL violations because he was not making money

on his photography, (id. at 197–99). Pressed to identify income from his photography business,

Philpot points to concert tickets, food and drink, one shoot two years ago—and settlement

agreements. (Id. at 177, 190). A reasonable jury could infer from all of this evidence that Philpot’s

aggressive litigation practice is an abusive way to monetize works he cannot sell.

        But even viewed in the light most favorable to WOS, this record does not support a finding

of copyright misuse. Whatever WOS thinks of Philpot’s litigation practices, he is in this case seeking

to secure his monopoly rights over his own copyrighted works but is not seeking to extend that



                                                   21
           Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 22 of 24



monopoly power to any other property not covered by his copyrights. See Alcatel, 166 F.3d at 792–

93. Philpot is entitled to summary judgment on this defense.15

                                                 4. Invalid Copyright

         “To maintain a copyright infringement claim, the owner of the copyright must have

registered it.” Geoscan, Inc. of Tex. v. Geotrace Techs., Inc., 226 F.3d 387, 392 (5th Cir. 2000). Philpot

undoubtedly registered both photos, (Certificates, Dkt. 26-1, at 113, 118), but WOS argues that

there are genuine issues of material fact as to whether the Nelson registration is valid. (Resp. Philpot

Mot. Summ. J., Dkt. 28, at 14). Specifically, WOS argues that Philpot erroneously registered the

Nelson photo as an unpublished image in a set of unpublished works when in fact it had been

published already. (Id.).

         A copyright registration certificate is valid even if the certificate contains inaccurate

information, unless the applicant knew that the information was inaccurate and the inaccuracy, if

known to the Register of Copyrights, would have caused the Register to refuse registration. 17

U.S.C. § 411(b)(1). When Philpot first attempted to register the Nelson photo as part of a collection

of 2009 works, the Copyright Office asked him whether every work in the collection had been

published on June 5, 2009—the publication date listed in his application. (USCO Email, Dkt. 28-1,

at 114). Philpot responded that he had published some images on his Flickr account but not others

and that he did not know which were which. (Id.). After being told that published and unpublished

works could not be registered together, Philpot responded that all of the photos were unpublished.

(Id. at 112–13).




15 Similarly, WOS points to no authority to support its theories that Philpot’s alleged misrepresentations to the U.S.
Copyright Office or the U.S. Internal Revenue Service are relevant to a copyright-misuse defense. (Resp. Philpot Mot.
Summ. J., Dkt. 28, at 10–12). Like his litigation practices, Philpot’s statements to the Copyright Office and the IRS
appear unrelated to whether he is attempting to use his copyrights to obtain monopoly power over uncopyrighted
property. See Alcatel, 166 F.3d at 792–93. Philpot has met his burden to show that this evidence fails to create a genuine
issue of material fact, and WOS has not met its countervailing burden to explain why it does.


                                                            22
          Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 23 of 24



        WOS’s theory of invalid registration is that perhaps the Nelson photo was a published work

when he sought registration, Philpot knew it was published, but he told the Copyright Office it was

unpublished so that it could be registered with the unpublished collection. (Resp. Philpot Mot.

Summ. J., Dkt. 28, at 14). “The Copyright Act defines ‘publication’ as ‘the distribution of copies or

phonorecords of a work to the public by sale or other transfer of ownership, or by rental, lease, or

lending.’” Rogers v. Better Bus. Bureau of Metro. Hous., Inc., 887 F. Supp. 2d 722, 730 (S.D. Tex. 2012)

(quoting 17 U.S.C. § 101). So is offering copies to others for further distribution. Id. But “[a] public

performance or display of a work does not of itself constitute publication.” Id. Publishing images to

a Flickr account is neither a sale or transfer of ownership nor a distribution to others for further

publication. Accordingly, there is no genuine issue of material fact as to this defense, because no

reasonable juror could conclude that Philpot knowingly included inaccurate information on his

application. See 17 U.S.C. § 411(b)(1). Philpot is entitled to summary judgment as to this defense.

                                            5. Innocent Intent

        The Copyright Act provides that courts may reduce the total damages award if the violator

proves that it “was not aware and had no reason to believe that its acts constituted a violation.” 17

U.S.C.A. § 1203(b)(5). WOS asserts this defense with respect to Philpot’s CMI-removal claims.

(Resp. Philpot Mot. Summ. J., Dkt. 28, at 15). Because the Court by this order grants summary

judgment in favor of WOS as to those claims, there will be no associated damages to reduce. This

issue is therefore moot.

        Additionally, the Copyright Act provides that courts may reduce the award of statutory

damages to $200 when the infringer “was not aware and had no reason to believe that his or her acts

constituted an infringement of copyright.” 17 U.S.C. § 504(c)(2). WOS argues that even if Philpot

proves that WOS infringed his copyrights, there are genuine issues of fact as to whether it did so

intentionally or knowingly. (Resp. Philpot Mot. Summ. J., Dkt. 28, at 14). WOS argues that it is a



                                                    23
           Case 1:18-cv-00339-RP Document 43 Filed 04/22/19 Page 24 of 24



small company that relies on freelancers to produce a high volume of content, that it instructs those

freelancers to be mindful of copyrights and CCLs, and that it believed the hyperlinks to the images’

Wikimedia pages complied with the license’s attribution requirements. (Id.). Viewed in the light most

favorable to WOS, this evidence could lead a reasonable jury to agree that it had no reason to

believe that it was infringing Philpot’s copyrights. Philpot is therefore not entitled to summary

judgment as to this defense.

                                         IV. CONCLUSION

          For the reasons given in this order, IT IS ORDERED that WOS’s Motion for Summary

Judgment, (Dkt. 25), is GRANTED IN PART AND DENIED IN PART. Specifically, summary

judgment is granted in favor of WOS as to Philpot’s CMI-removal claims. All other relief sought in

WOS’s motion is denied.

          IT IS FURTHER ORDERED that Philpot’s Motion for Partial Summary Judgment,

(Dkt. 26), is GRANTED IN PART AND DENIED IN PART. Specifically, summary judgment

is granted in favor of Philpot as to WOS’s copyright-misuse and invalid-copyright defenses.

Likewise, summary judgment is granted in favor of Philpot as to the affirmative defenses that WOS

failed to address in its response to Philpot’s motion. All other relief sought in Philpot’s motion is

denied.

          SIGNED on April 22, 2019.




                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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